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                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                                Case No. 06-cr-97-01/02-SM

Edward Cervantes Arias
and Jose Luis Alsina-Ortiz

                                    ORDER

      Defendant Alsina-Ortiz’s motion to continue the final pretrial conference

and trial is granted (document 16). Trial has been rescheduled for the

September 2006 trial period. Defendant Alsina-Ortiz’s Bennett shall file a

waiver of speedy trial rights not later than July 3, 2006. On the filing of such

waiver, his continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: August 30, 2006 at 9:00 a.m.

      Jury Selection: September 6, 2006 at 9:30 a.m.
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      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge

June 26, 2006

cc:   Richard N. Foley, Esq.
      Jose A. Espinosa, Esq.
      Michael Sheehan, Esq.
      Mark Zuckerman, AUSA
      US Probation
      US Marshal




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